Case 1:19-cv-01090-CFC Document 36 Filed 06/14/19 Page 1 of 2 PageID #: 1202
                                     OFFICE OF THE CLERK
                                UNITED STATES DISTRICT COURT
                                    DISTRICT OF DELAWARE                   844 North King Street, Unit 18
         John A. Cerino                                                       Wilmington, DE 19801
       CLERK OF COURT                                                             (302)573-6170
                                                                              www.ded.uscourts.gov


                                           June 14, 2019

       Kenneth Murena
       Damian & Valori LLP
       1000 Brickell Avenue, Suite 1020
       Miami, FL 33131

RE:    DE Case CA 19-1090
       DC/SDNY CA #: 9:19-cv-80074
       UMB Bank, N.A. v. Sun Capital Partners V, L.P. et al

Dear Counsel:

The above referenced action was transferred to the U.S. District Court on 6/12/2019.

        Pursuant to Local Rule 83.5 (Local Rules of Civil Practice and Procedure of the United
States District Court for the District of Delaware, effective August 1, 2016) it is required that all
parties associate themselves with local counsel. Local Rule 83.5 (d) and (e) read as follows:

        (d) Association with Delaware Counsel required. Unless otherwise ordered, an attorney
not admitted to practice by the Supreme Court of the State of Delaware may not be admitted pro
hac vice in this Court unless associated with an attorney who is a member of the Bar of this
Court and who maintains an office in the District of Delaware for the regular transaction of
business (“Delaware counsel”). Consistent with CM/ECF Procedures, Delaware counsel shall be
the registered users of CM/ECF and shall be required to file all papers. Unless otherwise ordered,
Delaware counsel shall attend proceedings before the Court.

        (e) Time to Obtain Delaware Counsel. A party not appearing pro se shall obtain
representation by a member of the Bar of this Court or have its counsel associate with a member
of the Bar of this Court in accordance with D.Del. LR 83.5(d) within 30 days after:

       (1) The filing of the first paper filed on its behalf; or
       (2) The filing of a case transferred or removed to this Court.

       Failure to timely obtain representation shall subject the defaulting party to appropriate
sanctions under D.Del. LR 1.3(a).
       Please have your local counsel enter an appearance on or before 7/15/2019.

                                                              Sincerely,
                                                              John A. Cerino
       By: /s/ Nicole Gland                                   Clerk of Court
               Deputy Clerk
Case 1:19-cv-01090-CFC Document 36 Filed 06/14/19 Page 2 of 2 PageID #: 1203
                                     OFFICE OF THE CLERK
                                UNITED STATES DISTRICT COURT
                                    DISTRICT OF DELAWARE                   844 North King Street, Unit 18
         John A. Cerino                                                       Wilmington, DE 19801
       CLERK OF COURT                                                             (302)573-6170
                                                                              www.ded.uscourts.gov


                                           June 14, 2019

       Jodi Ann Avila
       Baker & McKenzie
       1111 Biscayne Blvd, Suite 1700
       Miami, FL 33131


RE:    DE Case CA 19-1090
       DC/SDNY CA #: 9:19-cv-80074
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       By: /s/ Nicole Gland                                   Clerk of Court
               Deputy Clerk
